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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA               )
                                       )    16-cr-10164-WGY
     v.                                )
                                       )
ROSNIL ORTIZ,                          )
JUAN PENA,                             )
                                       )
     Defendants.                       )

                    UNITED STATES WITNESS LIST

     Pursuant to LR 117.1(A)(8)(a), the United States

respectfully submits that it may call the following witnesses at

trial in its case-in-chief:

     1.   Special Agent John Mercer, Jr., Bureau of Alcohol
          Tobacco Firearms and Explosives;

     2.   Special Agent Elliot Rizzo, Bureau of Alcohol Tobacco
          Firearms and Explosives;

     3.   Det. Sgt. Paul Gallagher, Canton Police Department;

     4.   Det. Michael Powell, Malden Police Department;

     5.   Det. Steve Fitzpatrick, Malden Police Department; and

     6.   Special Agent Kenneth LaBrie, Homeland Security
          Investigations.




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     The government reserves its right to supplement or modify

the above witness list with reasonable notice to the defendants.


                                 Respectfully submitted,

                                 ANDREW E. LELLING
                                 United States Attorney

                     By:         /s/ Michael Crowley
                                 Michael Crowley
                                 Assistant U.S. Attorney
                                 One Courthouse Way
                                 Boston, MA

Date: February 6, 2018




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                                 /s/ Michael Crowley
                                 Michael Crowley


February 6, 2018




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